Case 1:14-cr-00068-LGS Document 256-1 Filed 05/26/15 Page 1of8

Silk Road

anonymous market

Shop by Category

Forgeries 156
Fake IDs 55
Passports 10

Apparel 752

Art 14

Books 7,322

Collectibles 26
Computer equipment 100
Custom Orders 8&7

Digital goods 892

Drug paraphernalia 496
Drugs 13,802
Electronics 239
Erotica 594

Fireworks 34

Food 13

Hardware 35

Home & Garden 28
Jewelry 104

Lab Supplies 30
Lotteries & games 159
Medical 56

Money 269

Musical instruments 7
Packaging 97
Services 171

Sporting goods 3
Tickets 4

Writing 7

messages 0 orders0 | account 80.0000

Search

sort by: | bestselling

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Go

( Domestic only | update |

! Ohio (US) Novelty / Fake ID (holos/magstrip/UV)

seller: TedDanzigSR 0.0
ships from: United States of America

Illinois Driver's License [Holograms+UV+Scans]

seller: MisterReplicator 0.0
ships from: United States of America

Illinois Fake ID (UV/Scans/Blacklights) BEST ON SR

seller: leOracle 0.0
ships from: United States of America

New South Wales Driving License
(Holograms+Scans)

seller: KingOfClubs 0.0
ships from: undeclared

Illinois Fake ID License ** UV, Hologram, Scans **

seller: crer1 0.0
ships from: United States of America

® Forged Social Security Card ©

seller: namedeclined 0.0
ships from: United States of America

Illinois ID(UV/Scans/Blicklghts)WORKS IN
CLUBS/BARS

seller: idsupply 0.0
ships from: United States of America

UK Driving License (Holograms + Scannable)

seller: KingOfClubs 0.0
ships from: undeclared

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the Dread Pirate Roberts a

Hi, FBINY 0
logout

discuss this category 0

81.9788

add to cart

81.1857

add to cart

81.1452

add to cart

1.4935

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BO.8961

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80.7468

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1.4935

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Silk Read. 14-c288tessBeithent 256-1 Filed 05/26/15. Page 2 0f 8 _
anonymous market Search = Hi, FBINY 0
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Shop by Category
Forgeries 156 -(beekeelling.) : , | discuss this category 0
Pascipiiis 10 sort by: | bestselling | Domestic only _update
Fake IDs 55
Apparel 753 EU Passport Scan - Customised HQ 3
Art 14 3
Books 1.322 seller: starlight 0.0 2 80.6314
Collectibles 26 ships from: Netherlands 1 add to cart
Computer equipment 100
Custom Orders 87
Digital goods 892
Drug paraphernalia 496
aa , NEW USA PASSPORT CUSTOM SCAN, ANY ‘
Electronics 239 NAME, ANY PIC : 80.7393
Erotica 584 ‘ as a 1 add to cart
= Seer: periectscans 0.0
Fireworks 34 ships from: United States of America
Food 13
Hardware 35
Home & Garden 28
Jewelry 104 UK British Passport Custom Scan Any Name/Pic 3
Lab Supplies 30 3
Lotteries & games 169 seller: perfectscans 0.0 2 BO.7393
Medical 56 ships from: United Kingdom i add to cart
Money 269
Musical instruments 7
Packaging 91
Services 171 5
Sporting goods 3 (( AUSTRALIAN PASSPORT SCAN, ANY NAME, ;
Tickets 4 ANY PIC . BO.9633
Writing 7 1 add to cart
seller: perfectscans 0.0
ships from: Australia
USA Custom Passport/SSN ID Any Name, Any Pic }
3
seller: perfectscans 0.0 9 BO.9334
ships from: United States of America i add to cart
NEW USA PASSPORT CUSTOM SCAN, ANY 3
NAME, ANY PIC : 80.7393
seller: perfectscans 0.0 7 aes
ships from: United Kingdom
100% REALI USA PASSPORT! AUCTION! MAKE AN ;
OFFER!! 3 5.1853
no image : add to cart
seller: Rapid RX 0.0 =
ships from: United States of America
Romania / Romanian passport - valid, OK for travel >
3
: seller: EuHighz 0.0 2 B11.7470
no image ships from: Hungary i add to cart
Real Passport/New Identity in 30 days RUSH ;
SERVICE ; 156.0700
seller: IdentitySource 0.0 7 ae
ships from: undeclared
fae 5
A Real Passport, A New Identity in 45 days i
seller: IdentitySource 0.0 : B120.0500
ships from: undeclared 1 add to cart
B81 = 81.0000 community forums | wiki support

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anonymous market Hi, FBINY 0
you Search Go forint
Shop by Category
oo ae sort by: | bestselling “] Domestic only | update discuss this category 0
Video Games 10 a
Invites / Accounts 12 fF ’y Windows 7 - All Versions :
Security 25 ( 3
Synthesis 8 4 seller: plutopete 0.0 2 BO.0961
Video 103 4 ships from: United Kingdom 1 add to cart
Apparel 753 ‘ a
Art 14 Windows 7
Books 1,322
Collectibles 26 a
Computer equipment 100 Crack WiFi Passwords for FREE INTERNET :
Custom Orders ee _ seller: aldog25 0.0 0.2323
Drug paraphernalia 496 ships from: undeclared 1 add to cart
Drugs 13,802
Electronics 239
Erotica 584
Fireworks 34
Food 13 [Android] Hackers Handbook (Full Version) :
Forgeries 156 3
Hardware 325 seller: sh4d3r1950 0.0 2 BO.0609
Home & Garden 28 ships from: undeclared 1 add to cart
Jewelry 104
Lab Supplies 30
Lotteries & games 169
Medical 56 s
Money 269 Adobe Photoshop Cs6 Extended 13.0.1 Portable :
i i 7? 3
a Seam seller: HipsterPikachu 0.0 2 0.0496
Bckene et ships from: undeclared i add to cart
Services i7i
Sporting goods 3
Tickets 4
Writing 7 -
= & Adobe Photoshop CC - Hacked Portable Copy & >
3
< seller: namedeciined 0.0 2 BO.0370
<r ships from: undeclared 1 add to cart
P=
be
Rosetta Stone 3.4.5 All Languages (PC) BEST
price! 4 0.0373
en ATER i add to cart
seller: mesa235z 0.0 u
ships from: United States of America
[Android] Hackers Home Pro (Fully Fuctional) :
3
seller: sh4d3r1950 0.0 Z 80.0366
ships from: undeclared 1 add to cart

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anonymous market Search

Shop by Category

Digital goods 92
Invites / Accounts 12
Media 143
Security 25
Synthesis ¢
Video 103

Apparel 753

Art i4

Books 1,322

Collectibles 26

Computer equipment 100

Custom Orders 87

Drug paraphernalia 496

Drugs 13,802

Electronics 239

Erotica 584

Fireworks 324

Food i3

Forgeries 156

Hardware 35

Home & Garden 28

Jewelry 104

Lab Supplies 20

Lotteries & games 169

Medical 56

Money 269

Musical instruments 7

Packaging 97

Services i71

Sporting goods 3

Tickets 4

Writing 7

sort by: | bestselling

messages 0

orders 0 | account 80.0000

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Go

[] Domestic only | update |

HUGE Hacking Pack **150+ HACKING
TOOLS&PROGRAMS;**

seller: sniffsniff 0.0
ships from: undeclared

Sassafras oil to mdma.hcl guide, 1kg easy, sick!

seller: ron paul 0.0
ships from: United States of America

Lab Notes: LSD synthesis! Two guides in one!
EASY!

seller: ron paul 6.0
ships from: United States of America

Extreme Darknet Bootable USB (v2) 16GB

seller: uglysurfer 0.0
ships from: United States of America

ATM Cash Machine Hack...

seller: UK Stealth 0.0
ships from: United States of America

Netflix Account

seller: sniffsniff 0.0
ships from: undeclared

ALL Hacking Listings (40% Discount)

seller: supremePSY 0.0
ships from: United States of America

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Hi, FBINY 0
logout

discuss this category 0

BO.1867

add to cart

B4.4017

add to cart

B7.1220

add to cart

B0.4973

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BO.6000

add to cart

BO.0374

add to cart

B0.6123

add to cart

Case 1:14-cr-00068-LGS Document 256-1 Filed 05/26/15 Page 5of8

Si | k Road messages 0 orders 0 | account BO.00 the Dread Pirate Roberts a
} anonymous market Search Go Ri as \0
Shop by Category
Jewelry #7 -
Apparel 27 S0r by! | bestselling | | C Domestic only update
Art 5
Books 736 _ fi.
Collectibles 73 4. 2
Somperee manip inent +2 “ n. « ~ seller: Asiandxen( 100%) BO.93
Custom Orders 27 > 44 ships fram: undeclared add to cart
Digital goods 377
Drug paraphernalia 705
Drugs 2,603
Electronics #5 j ; :
Erotica 294 L Replica Tiffany & Co three hearts Necklace

Fireworks 3
Foor 3 seller: Asian‘sdmen(100) £1.29

Forgeries #6 ships from: undeclared add to cart

Hardware 2

Herbs & Supplements 3
Home & Garden

Lab Supplies &
Lotteries & games 37

Replica Tiffany&Co; Like the Wind Fashion Earrings

Cartier Love Ring - Wornan & Man

Medical 3 seller: Foxy Girl(100) £1.91

Money 62 ships from: China add to cart

Packaging 27

Services #2

Tickets 7

EIS BNE Rents Beautiful Hermes bracelet Replica

Vuriting 3

Yubikeys 3 seller: Foxy Girl(100) 2.68
ships from: undeclared add to cart

Replica TiffanyéCo;. Heart bracelet

seller: Asiandmenti00) B 141
ships from: undeclared add to cart

Beautiful Cartier Necklace replica

seller: Foxy Gini(100) Ba21
ships tram: China add to cart

Case 1:14-cr-00068-LGS Document 256-1 Filed 05/26/15 Page 6of8

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} aOTY TOUS market Search fin Hi, ee 0
Shop By Category
Apparel 7 '

Clothing 22 sort by: | bestselling C] Domestic only update

Handbags 3

Sunglasses 32 &

Hermes Real Leather Belt - Woman & Man

YWratches 26
ae seller: Foxy Gin100) £6.93
Books 736 ships fram: China add to cart
Collectibles 73

Computer equipment 17
Custom Orders 27
Digital goods 377

Drug paraphernalia #05
Drugs 2,603
Electronics #5

Erotica 237

Fireworks 3

Food 3

Forgeries #6
Hardware 2

Herbs & Supplements 9
Home & Garden ?
Jewelry #7

Lak Supplies 6
Lotteries & games 37
Medical =

Money G2

Packaging 27

Services 72

Tickets 7

Weight loss 73

Variting 2

Yubikeys 3

LY Initials Damier Graphite Belt Replica -Man

seller: Foxy Gin100% BS.63
ships tram: China add to cart

Fake Ray ban RB2140 Sunglasses - Children

seller: Foxy Gin(100) BS.20
ships tram: China add to cart

Gucci Belt with Square Buckle - Woman

seller: Foxy Gin(100) BS.33
ships tram: China add to cart

LY Inventeur Damier Ebene Reversible Belt- Man

seller: Foxy Girl(100) £4 34
ships fram: China add to cart

LY Initials Damier Ebene Belt Replica - Man

seller: Foxy Gin(100) R460
ships from: China add to cart

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anonymous market Search

Shop by Category

Books 1,322
Magazines 3
Newsletters 4
Physical Books 15

Apparel 753

Art 14

Collectibles 26

Computer equipment 100

Custom Orders 87

Digital goods 892

Drug paraphernalia 496

Drugs 13,802

Electronics 239

Erotica 584

Fireworks 34

Food 13

Forgeries 156

Hardware 35

Home & Garden 28

Jewelry 104

Lab Supplies 30

Lotteries & games 169

Medical 56

Money 269

Musical instruments 7

Packaging 91

Services i7i

Sporting goods 3

Tickets 4

Writing 7

sort by: | bestselling

BYE BYE BIG BROTHER:
THE SILK ROAD EDITION—

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All New 5 ATM Cash Machine Hacks...

seller: UK Stealth 0.0
ships from: United States of America

How To - MDMA Synthesis Complete guide

seller: optiman 0.0
ships from: undeclared

How to Get ANY Cell Phone for FREE

seller: sniffsniff 0.0
ships from: undeclared

BYE BYE BIG BROTHER -- OFFSHORE BANKING
MANUAL

seller: echo 0.0
ships from: United States of America

HUGE Compliation of Info-Graphics. MUST HAVE!

seller: shroomeister 0.0
ships from: United States of America

The Great Big Narcotics Cookbook EBOOK

seller: xRedBullx 0.0
ships from: undeclared

Massive Collection of Banned and Rare Books

seller: captainpicard 0.0
ships from: undeclared

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Page 7 of 8

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BO.6000

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BO.6980

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BO.1494

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BO.5601

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BO.0579

add to cart

BO.0414

add to cart

BO.0074

add to cart
Case 1:14-cr-00068-LGS Document 256-1

messages 0

Silk Road

anonymous market Search

Shop by Category

Money 269

Bullion 27

Digital currencies 48
Apparel 753
Art i4
Books 1,322
Collectibles 26
Computer equipment 100
Custom Orders 87
Digital goods 892
Drug paraphernalia 496
Drugs 132,802
Electronics 239
Erotica 584
Fireworks 34
Food i2
Forgeries 156
Hardware 35
Home & Garden 28
Jewelry 104
Lab Supplies 30
Lotteries & games 169
Medical 56
Musical instruments 7
Packaging 97
Services 171
Sporting goods 3
Tickets 4
Writing 7

sort by: | bestselling

orders 0 account B0.0000

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$1,000 US Dollars (10 $100 bills)

seller: gold 0.0 B9.3597

ships from: United States of America 1L add to cart

$10,000 US Dollars (100 $100 bills) a

seller: gold 0.0 B91.6370

ships from: United States of America 1 add to cart

$100 US Dollars (1 $100 bill) q

seller: gold 0.0 : BO.9830

ships from: United States of America 1 add to cart

$1000 USD Cash AND 1 Ounce Amer. Buffalo Gold 3

Coin 3 19.9820

seller: gold 0.0 z aah io icant

ships from: United States of America

£100 - Tesco Vouchers UK

seller: Mr BlackHat 0.0 3 80.3050

ships from: United Kingdom 1 add to cart

$100 Bill q

seller: CashExpress 0.0 : BO.9180

ships from: United States of America 1 add to cart

ANONYMOUS VISA ATM CARD EUR/ USD + Bank 2

ACC 0.3421
1 add to cart

seller: BioCanna 0.0

ships from: Poland

ANONYMOUS | VISA ATM DEBIT CARD |

EUR/USD/GBP : 80.1380

SER SSE er 1 add to cart
